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                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO

     Civil Action No. 1:20-cv-03142-DDD-KLM

     MIDLAB, INC., a Tennessee Corporation,

     Plaintiff,

     v.

     Merrie Pisano Wycoff individually and as trustee of The Wycoff Family Trust; Wycoff
     Financial, LLC, a Colorado Limited Liability Company; Magnus Veritas LLC, a Colorado
     Limited Liability Company; and GCS452, LLC, a Colorado Limited Liability Company,

     Defendants.
     ______________________________________________________________________________

       PLAINTIFF’S EXHIBIT INDEX FOR OCTOBER 29, 2021, DISCOVERY HEARING
     ______________________________________________________________________________

             Plaintiff Midlab, Inc. (“Midlab”), by and through its attorneys, provides the following

     index of exhibits for the October 29, 2021, Discovery Hearing in this matter.

 Exh.                                               Description

 1        Defendants’ Responses to Plaintiff’s First Set of Written Discovery, describing payments of
          $50,000 each to Devon and Azuraye Wycoff, allegedly for repayment of “loans” made in or
          about November 2017 from the joint bank accounts at issue. See pp. 9-11, ¶¶ B.(16)-(17).

 2        Documents produced by Defendants concerning the alleged “loans” from Devon and Azuraye
          Wycoff, including statements for the joint bank accounts at issue. Note deposits into the joint
          bank accounts by Zap!’s payroll processor, Gusto. Highlighting on documents provided by
          Defendants.

 3        Excerpts from Azuraye Wycoff’s 06/23/2021 deposition testimony concerning the alleged
          “loans” and joint Vectra Bank Youth Savings Accounts.

 4        10/31/15 Statement of Financial Condition for Jeffrey and Merrie Wycoff representing that the
          Wycoffs had $904,000 in “Cash/Cash Equivalents” as of October 31, 2015.

 5        Excerpts from Azuraye Wycoff’s 06/23/2021 and 08/25/2021 depositions concerning limited
          extent of Azuraye and Devon’s alleged employment by Zap!



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 Exh.                                              Description

 6       Excerpts from Merrie Wycoff’s 8/26/21 deposition concerning alleged employment of Devon
         and Azuraye with Zap! and admission that Devon and Azuraye were on the Zap! payroll to get
         health insurance, despite their lack of work for the company and despite Zap!’s insolvency.

 7       Gusto Payroll Journal Report for Zap! Products, Inc. from 01/01/2019 through 12/31/2019,
         listing both Azuraye and Devon Wycoff as employees of Zap! and reflecting payroll deposits
         (made to the joint bank accounts at issue) as well as insurance payments.

 8       Defendants’ 10/1/21 Supplemental Responses to Plaintiff’s Fourth Set of Written Discovery
         (verification page as yet unexecuted despite repeated request), with Defendants’ description in
         response to Interrogatory 12, pp. 1-2, concerning the movement of funds.

 9       Excerpts from CPA Robert Henke’s 08/11/2021 deposition testimony, wherein Mr. Henke
         discusses Zap’s insolvency and Zap!’s Anthem health insurance plan.


     Dated: October 26, 2021

                                         /s/ Aaron D. Goldhamer
                                         Aaron D. Goldhamer
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                                  CERTIFICATE OF SERVICE

         I hereby affirm that on October 26, 2021, I caused the foregoing to be electronically
  served on the following:

                 Steven Abelman
                 Brownstein Hyatt Farber Schreck, LLP
                 410 17th Street, Suite 2200
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                 sabelman@bhfs.com
                 Counsel for Defendants


                                                      /s/     Aaron D. Goldhamer
                                                              Aaron D. Goldhamer




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